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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLORADO
                                                                            FILED
                                                                 UNITED STATES DISTRICT COURT
                                                                      DENVER, COLORADO
                                                                        3/26/2021
                                                                  JEFFREY P. COLWELL, CLERK
          Civil Action No. ______

          DELBERT SGAGGIO

            a. Plaintiff,

     v.

     Julie Gonzales Official capacity and Personal,

     Jared Polis in Official capacity,

     State of Colorado.

     Defendant


                      COMPLAINT AND JURY TRIAL DEMAND

     ________________________________________________________________

     Pro Se I Delbert Sgaggio respectfully brings the following complaint and Jury

     trial Demand.




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                                      Introduction

     2.   I am a journalist, I specialize in police misconduct, matters of civil rights,

          constitutional violations by public servants, matters of prejudice and

          racism. I am also an Asian /American who believes that rights given to

          me by god/nature shall not be infringed upon.




     3.   In the First Amendment, the Founding Fathers gave the free press the

          protection it must have to fulfill its essential role in our democracy. The

          press was to serve the governed, not the governors. The Government's

          power to censor the press was abolished so that the press would remain

          forever free to censure the Government. New York Times Co. v. United

          States P.403 U.S. 717.




     4.   In 2018, social media platforms, like Facebook, provide “perhaps the

          most powerful mechanisms available to a private citizen to make his or


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          her voice heard.” Packingham v. North Carolina, 137 S. Ct. 1730, 1737

          (2017).




     5.   Facebook allows any person with an internet connection to “become a

          town crier with a voice that resonates farther than it could from any

          soapbox.” Reno v. American Civil Liberties Union, 521 U.S. 844, 870

          (1997).




                                      PARTIES

     6.   Delbert Sgaggio is a citizen of the United States and State of Colorado

          who was born on the Airforce Academy, he is a native of Colorado

          Springs and the State of Colorado. Mr. Sgaggio had been a resident his

          entire life.




     7.   Defendant state of Colorado is the governing entity of the people of

          Colorado. Created by an acting pursuant to, and limited by, the

          Constitution of Colorado and the United States Constitution.




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     8.    Jared Polis was and is the Governor of Colorado and is a resident of

           Colorado during the relevant times of this complaint.




     9.    Julie Gonzales is and was a Senator of Colorado and is a resident of

           Colorado during the relevant times of this complaint.




                            JURISDICTION AND VENUE

     10.   This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

           and 1441. This action is authorized and instituted pursuant to 42 U.S.C. §

           1983 and the State Law of Colorado. Venue is proper in the District of

           Colorado pursuant to 28 U.S.C. § 1391(b).




                                   Factual Allegations

     11.   I was watching a live stream, on hearing on House bill 19 –1177. When

           Julie Gonzales made her comments on the bill HB19-1177 she was

           clearly for it. I was upset her position on the bill. She said something to

           the effect of this bill will save lives and we need to pass it. She never

           mentions due process rights that HB 19-1177 violates. The creation of a


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                 civil search warrant would be detrimental to the residence of Colorado

                 especially minorities, and those who live in the poor part of the

                 community. The house bill HB19-1177 also violated due process.




                          House Bill 19-1177 Extreme Risk Protection order.

        12.      “The bill creates the ability for a family or household member or a law

                 enforcement officer to petition the court for a temporary extreme risk

                 protection order (ERPO).”1




        13.      This is not acceptable to me. I have already endured a ridiculous amount

                 of unconstitutional searches by law enforcement. By giving police the

                 power to initiate their own search warrant, based on the vagueness of me

                 being a danger to myself or others would undoubtedly result in more

                 injuries and more illegal searches against me. This would also result in

                 violations of my first amendment since, I am very vocal, on social media

                 platforms. Retaliation would be even easier, Public servants will target




  1
      https://leg.colorado.gov/sites/default/files/documents/2019A/bills/2019a_1177_01.pdf

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           me. But instead of a banned button, it will be an unconstitutional search

           of my house and seizure of my property.




     14.   The (ERPO) law also does not guarantee the right to a jury trial, and does

           not prevent the use of hearsay evidence.




     15.   After doing my research about the law, I decided it was about time to

           post my Free Speech / Petition the Government for redress and

           journalism.




     16.   I like the use of Memes for multiple reasons, a picture is worth 1000

           words, a picture with words on it, this is my Free Speech/ but also my

           petition to the government to redress my grievances/ My journalism

           intertwined with political satire, not fake news. Everything I report is

           100% facts.




     17.   I post my journalism on the public servants Facebook page that I am

           investigating and doing my story on.


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     18.   On or around March 28th, 2019 I posted free speech / petitioned the

           Government for a redress, and journalism; on Senator Julie Gonzales

           official Facebook Page.




     19.   I posted a picture of Julie Gonzales with a Phrase, I typed over the

           picture. This is consider a modern day Meme. “ I AM A GUN

           GRABBING BITCH WHO LOVES TO PISS ON THE

           CONSTITUTION AND THE PEOPLE OF COLORADO.”

     20.   Defendant Gonzales was attempting to fast track pass unconstitutional a

           law that would affect myself as well as my community. Julie Gonzales is

           pushing her political party’s agenda. Defendant Gonzales is not honoring

           her oath. Julie Gonzales is not protecting my rights.

     21.   The use of Julie Gonzales official senator’s Facebook page, was to

           communicate with the public.




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     23.
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     24.   I checked back on my Comment and noticed, that defendant Julie

           Gonzales both banned me from her senator page and my comment was

           removed. I realized this on or about April 25, 2019




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     25.
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                                        CLAIM ONE

           42 U.S.C. § 1983 – First Amendment Free Speech/Redress/Free Press

                                          (All Defendants)

     26.     Plaintiff hereby incorporates all other paragraphs of this Complaint as if

             fully set forth herein.




     27.     At all times relevant to this Complaint, Defendants was acting under the

             color of law.




     28.     I was engaged in First Amendment-protected speech/redress and

             journalism in my commenting on Defendant’s Julie Gonzales official

             Senators Facebook page.




     29.     By banning me from Julie Gonzales official Senators Facebook page, and

             deleting my comments, Defendant Julie Gonzales prevented me from

             exercising my First Amendment rights, including my right to speak

             freely, to petition the government for redress, and Free press.

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     30.   Julie Gonzales, banning of Plaintiff from commenting on posts on his

           official and personal Facebook page, and the deletion of his comments,

           was a viewpoint-based restriction on speech.




     31.   Defendant’s Julie Gonzales official Senators Facebook page, is a

           designated public forum Defendant’s Julie Gonzales conduct violated

           clearly established rights belonging to Plaintiff of which reasonable

           persons in Defendant’s position knew or should have known.




     32.   Viewpoint-based prior restraint on speech has been widely known as

           being unconstitutional for more than eight decades. See Near v.

           Minnesota, 283 U.S. 697 (1931).




     33.   Defendant Julie Gonzales being a senator, is a final policymaker for the

           State of Colorado, and her actions in this matter has the effect of

           Colorado custom, policy, and practice.




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     34.   Defendant Jared polis should have supervised and stopped the

           unconstitutional actions committed by Julie Gonzales.




     35.   The State of Colorado’s customs, policies, and/or practices were the

           moving force behind Defendant’s Julie Gonzales violation of Plaintiff’s

           constitutional rights. Defendant’s actions and/or omissions caused,

           directly and proximately, Plaintiff to suffer damages.




     36.   The acts and inactions of Defendants caused Plaintiff damages in that he

           was prevented from speaking freely, redress of government and free

           press on a matter of public concerns, among other injuries, damages, and

           losses.




                                     CLAIM TWO

                     42 U.S.C. § 1983 – First Amendment Retaliation

                                     (Julie Gonzales.)

     37.   Plaintiff hereby incorporates all other paragraphs of this Complaint as if

           fully set forth herein.

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     38.   At all times relevant to this Complaint, Defendant Julie Gonzales was

           acting under the color of law.




     39.   I was engaged in First Amendment-protected speech in his commenting

           on Defendant’s Julie Gonzales official Senators Facebook page.




     40.   My Speech was on a matter of public concern and did not violate any

           law.




     41.   Defendant responded to Plaintiff’s First Amendment-protected activity

           with retaliation, including but not limited to, deleting his comments, and

           banning him from commenting on Defendant’s Julie Gonzales official

           Senators Facebook page.




     42.   Defendant’s retaliatory actions were substantially motivated by

           Plaintiff’s exercise of his First Amendment rights.



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     43.   By banning me and deleting my comments, Defendant sought to punish

           me for exercising my First Amendment rights, to silence my future

           speech, to stop me from petitioning of government for redress, and

           stopped my free press Defendant’s retaliatory actions would chill a

           person of ordinary firmness from engaging in First Amendment-protected

           activity.




     44.   Defendant’s conduct violated clearly established rights belonging to

           Plaintiff of which reasonable persons in Defendant’s position knew or

           should have known.




     45.   Viewpoint-based prior restraint on speech has been widely known as

           being unconstitutional for more than eight decades. See Near v.

           Minnesota, 283 U.S. 697 (1931).




     46.   Retaliation against an individual based on his First-Amendment-

           protected speech has been clearly established in the Tenth Circuit for

           almost two decades. Worrell v. Henry, 219 F.3d 1197, 1212 (10th Cir.

           2000).
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     47.   Defendant Julie Gonzales , as Senator , is a final policymaker for the

           State of Colorado, and his actions in this matter has the effect of

           Colorado custom, policy, and practice.




     48.   The State of Colorado’s customs, policies, and/or practices were the

           moving force behind Defendant’s violation of Plaintiff’s constitutional

           rights.




     49.   Defendant engaged in this conduct intentionally, knowingly, willfully,

           wantonly, maliciously, and in reckless disregard of Plaintiff’s

           constitutional rights.




     50.   Defendant’s actions and/or omissions caused, directly and proximately,

           Plaintiff to suffer damages. The acts and inactions of Defendant caused

           Plaintiff damages in that he was prevented from Free speech/ redress of

           the government and Free Press on a matter of public concerns, among

           other injuries, damages, and losses.

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                        PRAYER FOR RELIEF WHEREFORE,

     51.   Plaintiff respectfully request that this Court enter judgment in his favor

           and against Defendant, and award him all relief as allowed by law and

           equity, including, but not limited to the following:




           a. Declaratory relief and injunctive relief;

           b. Compensatory damages as allowed by law, including, but not limited

              to those for past and future pecuniary and non-pecuniary losses,

              emotional pain, suffering, inconvenience, mental anguish, loss of

              enjoyment of life, medical bills, and other non-pecuniary losses;




           c. Punitive damages for all claims as allowed by law in an amount to be

              determined at trial;




           d. Pre-judgment and post-judgment interest at the highest lawful rate;




           Respectfully submitted this (26th day of March, 2021) .
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              By: s/ Delbert Sgaggio DELBERT SGAGGIO

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